                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

In re:

         GVM, Inc.,                               Chapter 11

                              Debtor.             Bankruptcy No. 19-03013

In re:

         Independent AG Equipment, Inc.,          Chapter 11

                              Debtor.             Bankruptcy No. 19-03014

In re:

         GVM West, Ltd.,                          Chapter 11

                              Debtor.             Bankruptcy No. 19-03015


                         DEBTORS' MOTION FOR AN ORDER
                       AUTHORIZING JOINT ADMINISTRATION

         GVM, Inc. (“GVM”), Independent AG Equipment, Inc. (“Equipment”), and GVM West,

Ltd. (“West” and together with GVM and Equipment, the “Debtors”) by and through proposed

counsel, Ciardi Ciardi & Astin, hereby present the Debtors’ Motion for an Order Authorizing

Joint Administration (the “Motion”) and in support thereof respectfully represent:

                                        BACKGROUND

               1.     On July 13, 2019 (the “Petition Date”) the Debtors filed separate,

Voluntary Petitions for relief under Chapter 11 of Title 11 of the United States Code, as

amended (the “Bankruptcy Code”).

               2.     The above captioned cases have been assigned to the same United States

Bankruptcy Judge of the Middle District of Pennsylvania.

               3.     The Debtors have continued in possession of their assets and property as




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Debtors-in-Possession.

               4.       GVM manufactures machinery and equipment used in agricultural markets

and related parts. Equipment is a distributor of the products manufactured by GVM. West is the

owner of real property located in Ohio.

               5.       GVM owns both Equipment and West and all of the Debtors have

identical secured creditors and cross-collateralization issues.

                                     RELIEF REQUESTED

               6.       Federal Rule of Bankruptcy Procedure 1015(b)(4) provides that "[i]f

a joint petition or two or more petitions are pending in the same court by ... (4) a debtor and an

affiliate, the court may order a joint administration of the estates." Fed. R. Bankr. P. 1015(b)(4).

               7.       The Debtors submit the joint administration of their bankruptcy cases

places each debtor in a better position to reorganize its financial affairs, file and confirm their

respective, feasible Plans of Reorganization and provide a distribution to unsecured creditors of

the Debtors’ estates.

               8.       By and through this Motion, the Debtors seek to maintain separate records

and tax identities but desire a lead docket number with respect to the above captioned proceeding

and the ability to file a Joint Plan of Reorganization should they so choose. The Debtors submit

that an order authorizing the Joint Administration of their bankruptcy cases will enhance judicial

economy and save the Debtors and their respective estates time and money.

               9.       The Debtors submit that the Joint Administration of these cases

should be maintained under the case number assigned to GVM, Inc., Bankruptcy Case

Number 19-03013.




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              10.      As of the filing of this Motion, no trustee, examiner or creditor’s

committee has been appointed in this Chapter 11 case.

              12.      No previous request for the relief sought herein has been made to this or

any other Court.

       WHEREFORE, the Debtors hereby respectfully request that this Court enter an Order,

substantially in the form attached hereto, authorizing Joint Administration of the Debtors'

bankruptcy cases pursuant to Bankruptcy Rule 1015(a) and Local Bankruptcy Rule 1015-1.

Dated: July 17, 2019                           CIARDI CIARDI & ASTIN


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